 Case: 1:16-cv-08637 Document #: 3964 Filed: 10/30/20 Page 1 of 5 PageID #:266566




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION


 IN RE BROILER CHICKEN ANTITRUST                       No. 1:16-cv-08637
 LITIGATION
                                                       Hon. Thomas M. Durkin
 This Document Relates To: ALL CASES                   Magistrate Judge Jeffrey T. Gilbert


DIRECT PURCHASER PLAINTIFFS’ MOTION FOR LEAVE TO FILE UNDER SEAL
     THE MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
  DIRECT PURCHASER PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION,
 CERTAIN EXHIBITS TO THE DECLARATION OF BOBBY POUYA IN SUPPORT
 OF DIRECT PURCHASER PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION,
   AND THE EXPERT REPORT OF COLIN A. CARTER, PH.D., IN SUPPORT OF
  DIRECT PURCHASER PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION

       Direct Purchaser Plaintiffs (“DPPs”), through their undersigned counsel, and pursuant to

Local Rules 5.8 and 26.2 of the Local Rules of the United States District Court for the Northern

District of Illinois, respectfully move this Court for entry of an Order granting DPPs leave to file

under seal the Memorandum of Points and Authorities In Support of Direct Purchaser Plaintiffs’

Motion for Class Certification, Exhibits 2–3, 5–13, 16–19, 21–26, 28, 31–39, 41–47, 49–68, 70–

99, 102–105, 107–109, 111–122, 124–126, 128, and 132–141 to the Declaration of Bobby Pouya

In Support of Direct Purchaser Plaintiffs’ Motion for Class Certification, and the Expert Report of

Colin A. Carter, Ph.D., In Support of Direct Purchaser Plaintiffs’ Motion for Class Certification.

In support, DPPs state the following:

       1.      Portions of the Memorandum of Points and Authorities In Support of Direct

Purchaser Plaintiffs’ Motion for Class Certification contain confidential information from

documents marked as “CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER” and

“HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER.”
 Case: 1:16-cv-08637 Document #: 3964 Filed: 10/30/20 Page 2 of 5 PageID #:266567




          2.   The Expert Report of Colin A. Carter, Ph.D., In Support of Direct Purchaser

Plaintiffs’ Motion for Class Certification contains confidential information from documents

marked as “CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER” and “HIGHLY

CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER.”

          3.   Exhibits 2–3, 5–13, 16–19, 21–26, 28, 31–39, 41–47, 49–68, 70–99, 102–105, 107–

109, 111–122, 124–126, 128, and 132–141 to the Declaration of Bobby Pouya in Support of Direct

Purchaser Plaintiffs’ Motion for Class Certification are documents marked as “CONFIDENTIAL

– SUBJECT TO PROTECTIVE ORDER” or “HIGHLY CONFIDENTIAL – SUBJECT TO

PROTECTIVE ORDER.”

          4.   The Agreed Confidentiality Order instructs that “[a]ny party wishing to file a

document designated as Confidential or Highly Confidential Information in connection with a

motion, brief or other submission to the Court must comply with Local Rule 26.2.” (ECF No. 202

at 11.)

          5.   Under Local Rule 26.2(c), “[a]ny party wishing to file a document or portion of a

document electronically under seal in connection with a motion, brief or other submission must . .

. move the court for leave to file the document under seal.” L.R. 26.2(c).

          6.   In compliance with Local Rule 26.2(c), DPPs filed a public-record version of the

Memorandum of Points and Authorities In Support of Direct Purchaser Plaintiffs’ Motion for Class

Certification, Exhibits 2–3, 5–13, 16–19, 21–26, 28, 31–39, 41–47, 49–68, 70–99, 102–105, 107–

109, 111–122, 124–126, 128, and 132–141 to the Declaration of Bobby Pouya in Support of Direct

Purchaser Plaintiffs’ Motion for Class Certification, and the Expert Report of Colin A. Carter,

Ph.D., In Support of Direct Purchaser Plaintiffs’ Motion for Class Certification.




                                                 2
 Case: 1:16-cv-08637 Document #: 3964 Filed: 10/30/20 Page 3 of 5 PageID #:266568




       WHEREFORE, for these reasons, Direct Purchaser Plaintiffs respectfully request this

Court enter an Order granting them leave to file under seal the Memorandum of Points and

Authorities In Support of Direct Purchaser Plaintiffs’ Motion for Class Certification, Exhibits 2–

3, 5–13, 16–19, 21–26, 28, 31–39, 41–47, 49–68, 70–99, 102–105, 107–109, 111–122, 124–126,

128, and 132–141 to the Declaration of Bobby Pouya In Support of Direct Purchaser Plaintiffs’

Motion for Class Certification, and the Expert Report of Colin A. Carter, Ph.D., In Support of

Direct Purchaser Plaintiffs’ Motion for Class Certification.




                                                 3
 Case: 1:16-cv-08637 Document #: 3964 Filed: 10/30/20 Page 4 of 5 PageID #:266569




Dated: October 30, 2020


W. Joseph Bruckner                            s/ Steven A. Hart
Brian D. Clark                                Steven A. Hart (#6211008)
Simeon A. Morbey                              Brian Eldridge (#6281336)
LOCKRIDGE GRINDAL NAUEN P.L.L.P.              John Marrese (#6306516)
100 Washington Avenue South, Suite 2200       Kyle Pozan (#6306761)
Minneapolis, MN 55401                         HART MCLAUGHLIN & ELDRIDGE, LLC
T: (612) 339-6900                             22 West Washington Street, Suite 1600
F: (612) 339-0981                             Chicago, IL 60602
wjbruckner@locklaw.com                        T: (312) 955-0545
bdclark@locklaw.com                           F: (312) 971-9243
samorbey@locklaw.com                          shart@hmelegal.com
                                              beldridge@hmelegal.com
Bruce L. Simon                                jmarrese@hmelegal.com
Neil Swartzberg                               kpozan@hmelegal.com
PEARSON, SIMON & WARSHAW, LLP
350 Sansome Street, Suite 680                 Direct Purchaser Plaintiffs Interim Liaison
San Francisco, CA 94104                       Class Counsel
T: (415) 433-9000
F: (415) 433-9008
bsimon@pswlaw.com
nswartzberg@pswlaw.com

Clifford H. Pearson
Daniel L. Warshaw
Michael H. Pearson
Bobby Pouya
PEARSON SIMON & WARSHAW, LLP
15165 Ventura Boulevard, Suite 400
Sherman Oaks, CA 92403
T: (818) 788-8300
F: (818) 788-8104
cpearson@pswlaw.com
dwarshaw@pswlaw.com
mpearson@pswlaw.com
bpouya@pswlaw.com

Direct Purchaser Plaintiffs Interim Co-
Lead Class Counsel




                                          4
 Case: 1:16-cv-08637 Document #: 3964 Filed: 10/30/20 Page 5 of 5 PageID #:266570




                                CERTIFICATE OF SERVICE

       I, Steven A. Hart, depose and state that I have served a copy of Direct Purchaser Plaintiffs’

Motion for Leave to File Under Seal the Memorandum of Points and Authorities In Support of

Direct Purchaser Plaintiffs’ Motion for Class Certification, Certain Exhibits to the Declaration of

Bobby Pouya In Support of Direct Purchaser Plaintiffs’ Motion for Class Certification, and the

Expert Report of Colin A. Carter, Ph.D., In Support of Direct Purchaser Plaintiffs’ Motion for

Class Certification upon all counsel of record via the United States Court for the Northern District

of Illinois’ CM/ECF Document Filing System on October 30, 2020.



                                      By: s/ Steven A. Hart

                                      [x] As provided by law pursuant to Rule 5(b) of Fed. Rules
                                          of Civil Procedure, I certify that the statements set forth
                                          herein are true and correct.




                                                 5
